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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  PARKERSBURG DIVISION


KIRT R. KING,

                               Petitioner,

v.                                                     CIVIL ACTION NO. 6:08-cv-01260
                                                       (Criminal No. 6:04-cr-00127-01)

UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER


       Pending before the court is the petitioner’s motion under 28 U.S.C. § 2255 to vacate, set

aside or correct sentence [Docket 595]. This action was referred to the Honorable Mary E. Stanley,

United States Magistrate Judge, for submission to this court of proposed findings of fact and

recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has

submitted findings of fact and has recommended that the court deny the petitioner’s § 2555 motion.

       The petitioner timely filed written objections to the Magistrate Judge’s findings of fact and

recommendation. Having reviewed the petitioner’s objections de novo, the court FINDS that they

are without merit. Accordingly, the court accepts and incorporates herein the findings and

recommendation of the Magistrate Judge, and DENIES the petitioner’s § 2255 motion [Docket 595].

       Additionally, the court has considered whether to grant a certificate of appealability. See 28

U.S.C. § 2253(c). A certificate will not be granted unless there is “a substantial showing of the

denial of a constitutional right.” Id. § 2253(c)(2). The standard is satisfied only upon a showing that

reasonable jurists would find that any assessment of the constitutional claims by this court is
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debatable or wrong and that any dispositive procedural ruling is likewise debatable. Miller-El v.

Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee,

252 F.3d 676, 683-84 (4th Cir. 2001). The court concludes that the governing standard is not

satisfied in this instance. Accordingly, the court DENIES a certificate of appealability.

       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.


                                              ENTER:         December 10, 2009




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